
84 So.3d 478 (2012)
HEARTLAND OF JACKSONVILLE FL, LLC d/b/a Heartland Health Care Center-Jacksonville, HCR Manorcare, Inc., HCR III Healthcare, LLC, HCR II Healthcare, LLC, HCR Healthcare, LLC, Manor Care, Inc., and Heartland Rehabilitation Services of Florida, LLC, Petitioners,
v.
Christie GEORGE, as personal representative of the Estate of Helen Owens, Respondent.
No. 1D11-5535.
District Court of Appeal of Florida, First District.
April 16, 2012.
James H. Wyman of Hinshaw &amp; Culbertson, LLP, Fort Lauderdale, for Petitioners.
Rebecca Bowen Creed and Bryan S. Gowdy of Creed &amp; Gowdy, F. Catfish Abbott of Abbot Law Group, P.A., and Stephen Watrel, Jacksonville, for Respondent.
PER CURIAM.
DENIED. Delta Health Group v. Estate of Collins, 36 So.3d 711 (Fla. 1st DCA 2010).
BENTON, C.J., WOLF and VAN NORTWICK, JJ., concur.
